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                                     UNITED STATES DISTRICT COURT
                                     SOUTHERN DISTRICT OF FLORIDA
                                       FORT LAUDERDALE DIVISION


  OCEAN HOTEL LENDER, LLC,                                   Case No. 18-60171-Civ-Scola
  a Delaware limited liability company,

                    Plaintiff,

  vs.

  550 SEABREEZE DEVELOPMENT LLC,
  a Florida limited liability company, and
  JAWOF 515 SEABREEZE, LLC,
  a Florida limited liability company,

                    Defendants.                          /

              PLAINTIFF'S NOTICE OF SETTLEMENT AND UNOPPOSED
        MOTION FOR ENTRY OF CONSENT FINAL JUDGMENT OF FORECLOSURE

             Plaintiff, Ocean Hotel Lender, LLC, a Delaware limited liability company ("Plaintiff"),

  hereby provides notice that Plaintiff and Defendant, JAWOF 515 Seabreeze, LLC, a Florida

  limited liability company ("JAWOF"), have entered into a formal written Settlement Agreement,

  pursuant to which the parties have agreed to the entry of a consent final judgment of foreclosure

  in the form of the attached Exhibit A. On account of the settlement, Plaintiff requests that the

  Court enter the consent final judgment of foreclosure. In support, Plaintiff states as follows.

        I.      INTRODUCTION

             Plaintiff, the owner and holder of the subject loan documents, is entitled to the entry of a

  consent final judgment of foreclosure, pursuant to a settlement agreement with the mortgagor,

  JAWOF. JAWOF has reviewed and approved the proposed final judgment of foreclosure and its

  counsel has advised the undersigned that JAWOF has no objection to its entry.


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      II.        PERTINENT BACKGROUND

            1.     This is an action for commercial foreclosure and other relief relating to a loan in

  the original principal amount of $50,000,000 that is in default for, among other things,

  nonpayment of amounts due under the loan documents.

                   A. This Lawsuit

            2.     The original lender, The Bancorp Bank ("Bancorp"), filed this lawsuit on January

  25, 2018. Its Verified Complaint (Doc. 1) contained causes of action to (a) foreclose a mortgage

  and other security interests upon real and personal property pledged by JAWOF and Defendant,

  550 Seabreeze Development, LLC, a Florida limited liability company ("550 Seabreeze") as

  collateral for the subject loan ("Loan"), and (b) to enforce the promissory note given by 550

  Seabreeze as evidence of the Loan.

            3.     One day after the lawsuit was filed, the Court entered an order requiring Bancorp

  to file an amended complaint to adequately allege federal subject matter jurisdiction. Bancorp

  filed its Amended Verified Complaint (Doc. 34) on February 13, 2018, which adequately alleges

  federal subject matter jurisdiction.

            4.     Less than two weeks after Bancorp filed the Amended Verified Complaint, 550

  Seabreeze filed a suggestion of bankruptcy (Doc. 49). The bankruptcy matter is styled In re 550

  Seabreeze Development, LLC, United States Bankruptcy Court for the Southern District of

  Florida, Case No. 18-12193-RBR ("Bankruptcy Case").




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          5.      On account of 550 Seabreeze's suggestion of bankruptcy, this Court entered an

  order (Docs. 50-51) staying the above-captioned case and instructing Bancorp to notify the Court

  if it decided to proceed with the portion of the case against JAWOF.

          6.      On or about June 30, 2018, Bancorp sold the subject loan to Plaintiff. The Court

  granted Plaintiff's Motion to Substitute Plaintiff and Counsel for Plaintiff (Doc. 54) on July 16,

  2018.

          7.      On or about August 23, 2019, 550 Seabreeze sold its primary asset, which was the

  partially completed 12-story resort hotel located at 550 Seabreeze Blvd., in Fort Lauderdale, that

  is referred to in the Amended Complaint as the "550 Parcel." The Bankruptcy Court later

  approved an interim distribution of net sales proceeds to Plaintiff in the amount of

  $34,004,547.39, which is well below the total amount owed to Plaintiff under the Loan.

          8.      On September 21, 2018, Plaintiff filed a status report and notice of its intent to

  proceed with the portion of the case against JAWOF (but not against 550 Seabreeze).

          9.      On October 16, 2018, Plaintiff filed an unopposed motion for leave to file a

  second amended complaint (Doc. 64). The Second Amended Complaint alleges claims for

  mortgage foreclosure and enforcement of collateral assignments against JAWOF.

                  B. The Settlement Agreement

          10.     On January 28, 2019, Plaintiff, JAWOF, and others entered into a formal written

  Settlement Agreement, subject in all respects to the approval of the Bankruptcy Court pursuant

  to Fed. R. Bankr. P. 9019 and which becomes effective upon the Bankruptcy Court's entry of an




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  order approving the Settlement Agreement and providing for the dismissal with prejudice of a

  separate lawsuit known as the "Marshaling Lawsuit"1:

                   This Settlement Agreement is subject in all respects to approval by
                   the Bankruptcy Court pursuant to Fed. R. Bankr. P. 9019. The
                   Parties acknowledge and agree that this Settlement Agreement
                   shall become effective on…the date upon which an order by the
                   Bankruptcy Court pursuant to Rule 9019…approving this
                   Settlement and providing for dismissal with prejudice of the
                   Marshaling Lawsuit becomes a Final Order….

                   Settlement Agreement ¶ 12.

          11.      The Settlement Agreement defines "Final Order" to mean:

                   [T]he date such Approval Order shall have become final and non-
                   appealable without having been vacated, modified, or stayed and
                   the period for filing any motions seeking reconsideration or
                   rehearing shall have expired without any such motion having been
                   filed or, if filed, such motion shall have been denied, and the
                   period for the filing of any appeal shall have expired without any
                   appeal having been filed, or, if an appeal was filed, such appeal
                   shall have been disposed of without modification or vacatur of the
                   Order and without further opportunity for appeal."

                   Settlement Agreement ¶ 12.

          12.      Thus, under the terms of the Settlement Agreement, the order approving the

  Settlement Agreement becomes a Final Order upon the expiration of the timeframes set forth in

  Federal Rules of Bankruptcy Procedure 8002 (requiring notice of appeal to be filed with the

  bankruptcy clerk within 14 days after entry of the judgment, order, or decree being appealed) and

  9023 (requiring a motion to alter or amend a judgment to be served no later than 14 days after


  1
     The Marshaling Lawsuit is an adversary proceeding filed in the Bankruptcy Case by third parties seeking to
  marshal JAWOF's assets and compel Plaintiff to satisfy its claim against JAWOF out of the marshaled assets before
  looking to satisfy the claim from the remaining proceeds of the sale of the 550 Parcel.

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  entry of the judgment)2 if no motion to alter or amend the Approval Order nor appeal is timely

  filed.

           13.      The Settlement Agreement further states that JAWOF agrees pay Plaintiff the sum

  of $2,000,000 by June 30, 2019, and further agrees to secure that payment through the immediate

  entry of a consent final judgment with a foreclosure sale date of August 5, 2019, or the first

  judicially available date thereafter:

                    On or before June 30, 2019 ("515 Payment Deadline"), [JAWOF]
                    shall pay, or cause to be paid, to [Plaintiff] the sum of $2,000,000
                    (the "515 Payment"). To secure the obligation of [JAWOF] to
                    make the 515 payment, [JAWOF] hereby consents to the
                    immediate entry of a consent final judgment in [the above-
                    captioned lawsuit] in favor of [Plaintiff] on all claims alleged in
                    the operative complaint in the amount of $2,000,000 (the "Consent
                    Judgment") in a form acceptable to [Plaintiff]. Upon the
                    Settlement Effective Date, [Plaintiff] is authorized to take all steps
                    necessary to seek entry of the Consent Judgment [and] seek to
                    have it recorded against the 515 Property.3

                    Settlement Agreement ¶ 6.

           14.      On March 1, 2019, this Court entered an order granting Plaintiff's motion for

  leave to file the Second Amended Complaint (Doc. 65). Plaintiff filed its Second Amended

  Complaint that same day.



  2
   Pursuant to Fed. R. Civ. P. 54(a) as made applicable to the underlying dispute and the approval of the Settlement
  Agreement by Fed. R. Bankr. P. 7054(a) and Fed. R. Bankr. 9014, the entry of any appealable order is considered
  entry of a judgment for purposes of the rules, including or purposes of Fed. R. Bankr. P. 9023.
  3
    Paragraph 6 of the Settlement Agreement also states that "[Plaintiff] and [JAWOF] hereby agree that [Plaintiff] is
  entitled to amend the Consent Judgment to include attorney's fees and costs, if any, incurred by [Plaintiff] in
  enforcing the Settlement Agreement or executing upon the Consent Judgment as a result of objections or actions in
  violation of this Settlement Agreement by [JAWOF]. [JAWOF] hereby agrees that it shall not directly or indirectly
  seek to cancel, postpone, or delay the foreclosure sale for any reason, without [Plaintiff]'s prior written consent."

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             15.     Also on March 1, 2019, the Bankruptcy Court signed an order granting 550

  Seabreeze's motion to approve the Settlement Agreement ("Approval Order"). The Approval

  Order was entered on March 4, 2019. See Fed. R. Bankr. P. 5003 & 9021. A copy of the

  Approval Order is attached as Exhibit B.                The Approval Order approves the Settlement

  Agreement and provides for the dismissal with prejudice of the Marshaling Lawsuit.

      III.         LEGAL DISCUSSION

             16.     Plaintiff is entitled to the entry of the Consent Final Judgment pursuant to the

  Settlement Agreement.

             17.     The Approval Order became a Final Order on March 18, 2019, as no motion to

  alter or amend the Approval Order, nor any notice of appeal, was filed. See Fed. R. Bankr. P.

  8002 (notice of appeal must be filed with the bankruptcy clerk within 14 days after entry of the

  judgment, order, or decree being appealed) and Fed. R. Bankr. P. 9023 (motion to alter or amend

  a judgment must be served no later than 14 days after entry); see also; In re Daughtrey, 896 F.3d

  1255, 1280 (11th Cir. 2018) (motion for "reconsideration" in bankruptcy court refers to a motion

  pursuant to Fed. R. Bankr. P. 9023, which is analogous to Fed. R. Civ. P. 59); In re Poff, 344

  Fed. Appx. 523, 524 n.1 (11th Cir. 2009) (same, but applying 10-day deadline under prior rules).

             18.     Accordingly, Settlement Agreement is effective, and JAWOF is bound by its

  terms.

             19.     Pursuant to the Settlement Agreement, JAWOF agreed to the immediate entry of

  a consent final judgment of foreclosure on the claims alleged in the Second Amended Complaint.

  See, supra, ¶ 12, p. 4 ("To secure the obligation of [JAWOF] to make the 515 payment,


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  [JAWOF] hereby consents to the immediate entry of a consent final judgment…in favor of

  [Plaintiff] on all claims alleged in the operative complaint in the amount of $2,000,000….").

          20.     JAWOF's attorney has advised the undersigned that JAWOF approves of the

  Consent Final Judgment and does not oppose the granting of this motion or entry of the Consent

  Final Judgment.

  IV.     CONCLUSION

          On account of the foregoing, Plaintiff respectfully requests that the Court enter an order

  granting this motion, enter a consent final judgment of foreclosure in the form of Exhibit A, and

  afford Plaintiff such other relief as is just and proper.

                                LOCAL RULE 7.1(A)(3) CERTIFICATION

          The undersigned counsel for the movant has conferred with all parties or nonparties who

  may be affected by the relief sought in the motion in a good faith effort to resolve the issues

  raised in the motion and has been advised by Niall McLachlan, as counsel for Defendant,

  JAWOF 515 Seabreeze, LLC, by email on March 21, 2019, that there is no opposition to the

  motion or entry of the Consent Final Judgment.




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                                                                              Case No. 18-60171-Civ-Scola
                                                             Respectfully submitted,

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                                     CERTIFICATE OF SERVICE

          I hereby certify that on March 22, 2019, I electronically filed the foregoing document

  with the Clerk of Court using CM/ECF. I also certify that the foregoing document is being

  served this day on all counsel of record by transmission of notices of electronic filing generated

  by CM/ECF.

                                                             By:      /s/ Michael E. Strauch




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